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                                     Exhibit D

              Schedule of Deficient Claims with Undeliverable Addresses
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                                                                 One Hundred and Fortieth Omnibus Objection
                                                    Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   HERNANDEZ GONZALES, MILAGROS                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      155940          Undetermined*
    C-27 ALELI
    JUNCOS, PR 00777

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   HERNANDEZ HERNANDEZ, XIOMARA                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      138164          Undetermined*
    BO BAROS CARR 567 KM 18
    OROCOVIS, PR 00720

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   HERNANDEZ MIRANDA, NITZA                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      123132          Undetermined*
    #10 CALLE RIGEL URB. LOS ANGELS
    CAROLINA, PR 00979

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   HERNANDEZ ORTIZ, JUAN ERNESTO                                                           7/12/2018      17 BK 03566-LTS Employees Retirement System of the               152288               $ 2,600.00
    CARRETERA 155 KM 26                                                                                                    Government of the Commonwealth
    OROCOVIS, PR 00720                                                                                                     of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
5   HERNANDEZ ROCHE, JUAN                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      141920          Undetermined*
    HC 03 BOX 11315
    JUANA DIAZ, PR 00795

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   HERNANDEZ RUIZ , GLORIA                                                                  7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      160963          Undetermined*
    HH1 LIZZIE GRAHAM
    LEVITTOWN LAKES
    TOA BAJA, PR 00949

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
7   HERNANDEZ RUIZ, GLORIA                                                                   7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      142244          Undetermined*
    HH1 LIZZIE GRAHAM
    LEVITTOWN LAKES
    TOA BAJA, PR 00949

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 9
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                                                                  One Hundred and Fortieth Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
8    HERNANDEZ RUIZ, GLORIA                                                                   7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      161090          Undetermined*
     HH1 LIZZIE GRAHAM
     LEVITTOWN LAKES
     TOA BAJA, PR 00949

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    HERNANDEZ VALLE, IRIS                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      116773          Undetermined*
     PO BOX 2731
     CAGUAS, PR 00725

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   HIRALDO VELAZQUEZ, ROSA MERCEDES                                                        6/29/2018      17 BK 03566-LTS Employees Retirement System of the               167051          Undetermined*
     #4 B.O. CAMBUTE SECT. PALMA REAL                                                                                       Government of the Commonwealth
     CAROLINA, PR 00986                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
11   IBARRONDO RODRIGUEZ, ILIANA                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      134972          Undetermined*
     P.O. BOX 990
     YAUCO, PR 00698

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   IRIZARRY ARROYO , LUIS A.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      128532             $ 17,400.00*
     HACIENDA LA MONSERRATE
     3 AVENIDA CENTRAL
     SAN GERMAN, PR 00683

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
13   IRIZARRY CRUZ, MILAGROS                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      136054             $ 20,000.00*
     FRANCISCO AMADEO EH38 6 SECTION
     LEVITTOWN
     TOA BAJA, PR 00949

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 9
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                                                                  One Hundred and Fortieth Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
14   IRIZARRY NAZARIO, JUAN MANUEL                                                           6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145279          Undetermined*
     CAM.102 INT.38.0 SECTOS LOS COCAS MINILLAS
     SAN GERMAN, PR 00683

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
15   IRIZARRY SANTIAGO, MILAGROS                                                             6/28/2018      17 BK 03566-LTS Employees Retirement System of the               135193          Undetermined*
     C-29 SANTA RITA                                                                                                        Government of the Commonwealth
     GUANICA, PR 00653                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
16   IRIZARRY VAZQUEZ, YARI L.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      135952          Undetermined*
     #2486 C/ SAN FRANCISCO URB. CONSTANCIA
     PONCE, PR 00730

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   IRIZARY CASIANO, EDGAR                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      143641              $ 3,000.00*
     CARRETERA #121 K.M. 9.1
     BARRIO SUSIA BAJA
     SABANA GRANDE, PR 00637

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   IRIZARY MONTALEU, HILDA A.                                                              6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      117257          Undetermined*
     BA FUIG HC38 BOX 8423
     GUANICA, PR 00653-9712

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
19   IVAN BURGOS, RICARDO                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      122926          Undetermined*
     APT 91166
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
20   JRIZARY NAZARIO, JUAN MANUEL                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      147712          Undetermined*
     CARR 102 INT. 38.0 SECTOR LOS COCAS MONILLAS
     SAN GERMAN, PR 00683

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 9
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                                                                  One Hundred and Fortieth Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED        CASE NUMBER                      DEBTOR                      CLAIM #           AMOUNT
21   KERCADO, MARIA DE LOS ANGELES                                                           6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      120204           Undetermined*
     1740 CALLE CEFIRO
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
22   LATIMER RIVERA, CLARA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      140939           Undetermined*
     CARRT. 848 KM.3 H6
     CAROLINA, PR 00957

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   LATIMER RIVERA, CLARA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      126748           Undetermined*
     CARRT. 848 KM. 3 H-6
     CAROLINA, PR 00957

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   LEBRON RIVERA, NAYDA I.                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the               123281           Undetermined*
     BO. GUARDARRAYA                                                                                                        Government of the Commonwealth
     PATILLAS, PR 00723                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
25   LEON AMADOR, HEYDA I.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145442           Undetermined*
     105D CALLE AMOR
     CAGUAS, PR 00725

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
26   LEON CINTRON, JOSEFINA                                                                  6/29/2018      17 BK 03567-LTS Puerto Rico Highways and                         140699           Undetermined*
     #264 CALLE 5 PARCELAS JACAGUAS                                                                                         Transportation Authority
     APARTADO796
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Puerto Rico Highways and Transportation Authority, but fails to provide any basis or supporting documentation for asserting a
     claim against the Puerto Rico Highways and Transportation Authority, such that the Debtors are unable to determine whether claimant has a valid claim against the Puerto Rico Highways and
     Transportation Authority or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 9
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                                                                  One Hundred and Fortieth Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
27   LOPES LOPES, JUANITA                                                                    6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      162587          Undetermined*
     CALLE 787 C PARCELA GILBRALTAR
     SAN JUAN, PR 00924

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
28   LOPEZ AYALA, EUNICE                                                                      7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      155142          Undetermined*
     96 8 CALLE
     LOIZA, PR 00772

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
29   LOPEZ BERRIOS, WILMA Y                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      142919          Undetermined*
     1322 CARR 733
     CIDRA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   LOPEZ CAMUY, SANDRA I.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      114817          Undetermined*
     CALLE LOS MILLONARIOS #63
     CASTANER, PR 00631

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
31   LOPEZ CARABALLO, CARLOS M                                                                6/8/2018      17 BK 03566-LTS Employees Retirement System of the               112379          Undetermined*
     REPARTO OASIS C- #D-9                                                                                                  Government of the Commonwealth
     GUANICA, PR 00653                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
32   LOPEZ CONTRERAS, CAMEN L                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      120501              $ 75,000.00
     APARTADO865
     AGUAS BUENAS, PR 00703

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 9
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                                                                  One Hundred and Fortieth Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
33   LOPEZ DE VICTORIA, RAUL                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the               120850          Undetermined*
     CALLE 27 BLOQUE 3B-B                                                                                                   Government of the Commonwealth
     LA PROVIDENCIA                                                                                                         of Puerto Rico
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
34   LOPEZ GONZALEZ, OLGA GISELA                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      151377          Undetermined*
     LA TORRE MIRAMAR 709 AVE. MIRAMAR APTO.8- C
     SAN JUAN, PR 00907

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
35   LOPEZ MARRERO, MYRIAM                                                                    7/3/2018      17 BK 03566-LTS Employees Retirement System of the               145355             $ 35,000.00*
     2798 WINSOR HEIGTS ST                                                                                                  Government of the Commonwealth
     DELTONA, FL 32738                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
36   LOPEZ MARTINEZ, MONICA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      127989          Undetermined*
     P.O. BOX 1944
     BARIO RABANAL
     CIDRA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
37   LOPEZ MIRANDA, MARIA L.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      139775          Undetermined*
     CARR. 185 K-18 H4 LA PINAS
     JUNCOS, PR 00777

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
38   LOPEZ MIRANDA, MARIA L.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      119193          Undetermined*
     CARR. 185 K-18 H4 LAS PINAS
     JUNCOS, PR 00777

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 9
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                                                                  One Hundred and Fortieth Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
39   LOPEZ MIRANDA, MARIA L.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145365          Undetermined*
     CARRETERA 185 K. 18 H4 LA PINAS
     JUNCOS, PR 00777

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
40   LOPEZ NEGRON, NITZA                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the               127475              $ 40,000.00
     CALLE 11 A-16 URB. PRADERA ALMIRA                                                                                      Government of the Commonwealth
     BAYAMON, PR 00949                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
41   LOPEZ ROSARIO, IRIS BELIA                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      138471          Undetermined*
     #960 CALLE TURQUEZA
     URB. QUINTAS DE CANOVANAS II
     CANOVANAS, PR 00729

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
42   LOPEZ RUIZ, ELSIE                                                                        7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      114217          Undetermined*
     PO BOX 571
     ISABELA, PR 00662

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
43   LOPEZ RUIZ, ELSIE                                                                        7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      139746          Undetermined*
     PO BOX 571
     ISABELA, PR 00662

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
44   LOPEZ SANCHEZ, GABRIEL TOMEI                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      149293          Undetermined*
     ARART-10 783
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
45   LUGO NIEVES, FRANCISCA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      156365          Undetermined*
     HC 38 BOX 8705
     GUANICA, PR 00653

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 9
                                   Case:17-03283-LTS Doc#:14692-4 Filed:10/20/20 Entered:10/20/20 17:12:06                                                     Desc:
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                                                                  One Hundred and Fortieth Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED        CASE NUMBER                      DEBTOR                      CLAIM #           AMOUNT
46   LUGO RODRIGUEZ, ISRAEL                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145487           Undetermined*
     15 BR. VERDIN PITINE
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
47   LUGO RODRIGUEZ, VIRGILIO                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the               145970           Undetermined*
     385 SAN JOSE                                                                                                           Government of the Commonwealth
     ALTURAS BELGICA                                                                                                        of Puerto Rico
     GUANICA, PR 00653

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
48   LUNA SASTRE, LARRY                                                                       7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      133366           Undetermined*
     HC 03 BOX 10819
     BARRIO CAYABO
     JUANA DIAZ, PR 00795-9502

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
49   MACEIRA MARTINEZ, ANTONIA M.                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      153227           Undetermined*
     B4 CALLE REINA
     TOA BAJA, PR 00949

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
50   MACHUCA GARCIA, OLGA                                                                    6/28/2018      17 BK 03567-LTS Puerto Rico Highways and                         155153           Undetermined*
     CALLE 5 #329 BARRIO JUAN SANCHEZ DIRRECION RESIDENSIAL                                                                 Transportation Authority
     BAYAMON, PR 00960

     Reason: Proof of claim purports to assert liabilities associated with the Puerto Rico Highways and Transportation Authority, but fails to provide any basis or supporting documentation for asserting a
     claim against the Puerto Rico Highways and Transportation Authority, such that the Debtors are unable to determine whether claimant has a valid claim against the Puerto Rico Highways and
     Transportation Authority or any of the other Title III debtors
51   MADERA RIVERA, JASSIE JAMES                                                             8/16/2018      17 BK 03566-LTS Employees Retirement System of the               163362           Undetermined*
     211 CALLE LOMA BONITA                                                                                                  Government of the Commonwealth
     PENUELAS, PR 00624                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 8 of 9
                                   Case:17-03283-LTS Doc#:14692-4 Filed:10/20/20 Entered:10/20/20 17:12:06                                                     Desc:
                                                             Exhibit D Page 10 of 10

                                                                  One Hundred and Fortieth Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
52   MALAVE DIEZ, JUAN E.                                                                    6/26/2018      17 BK 03566-LTS Employees Retirement System of the               123216          Undetermined*
     EST DE JUANA DIAZ                                                                                                      Government of the Commonwealth
     123 CALLE SANDALO                                                                                                      of Puerto Rico
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
53   MALAVE MORELL, MARIA L.                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      128393          Undetermined*
     L-4 42
     CAGUAS, PR 00727

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
54   MALAVE MORELL, MARIA L.                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      136426          Undetermined*
     L-4 42
     CAGUAS, PR 00727

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
55   MALDONADO BERRIOS, VILMA H.                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      138813          Undetermined*
     URB. VILLA DEL CARMEN IC-7
     CIDRA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
56   MALDONADO CANDELARIA, HECTOR LUIS                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      150478          Undetermined*
     PO BOX 8554
     HUMACAO, PR 00792

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
57   MALDONADO MARTINEZ, MARGARITA                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      122101          Undetermined*
     O-ZO 23 URB. ALTA VISTA
     PONCE, PR 00716-4264

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                    $ 193,000.00*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 9 of 9
